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 Lisa M. Solomon, Esq. (LS 0086)
 LAW OFFICES OF LISA M. SOLOMON
 305 Madison Avenue, Suite 4700
 New York, NY 10165
 Tel: 212- 471-0067; Fax: 212-980-6965

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------x
 In re:                         :                             Chapter 11
                                                              Case No. 08-13555 (JMP)
                                               :
 LEHMAN BROTHERS HOLDINGS, INC.,
 et al.,                                                      (Jointly Administered)
                                :
                Debtors.
 -------------------------------x

                  SUPPLEMENTAL VERIFIED STATEMENT OF
          LAW OFFICES OF LISA M. SOLOMON PURSUANT TO RULE 2019(a)
             OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

        Law Offices of Lisa M. Solomon (the “Solomon Firm”) hereby makes the following

 verified statement pursuant to Rule 2019(a) of the Federal Rules of Bankruptcy Procedure and

 states as follows:

        1.    On or about October 11, 2011, the Solomon Firm filed its Verified Statement

 Pursuant to Rule 2019(a) of the Federal Rules of Bankruptcy Procedure (the “Initial 2019

 Statement”), identifying, among other things, its representations in the above-captioned chapter

 11 cases (the “Cases”) of various creditors (the “Creditors”) identified therein that hold claims

 against the debtors and debtors in possession (collectively, the “Debtors”) in the Cases. Since

 the filing of the Initial 2019 Statement, the Solomon Firm has been requested to represent

 additional creditors (the “Additional Creditors”) in the Cases. Accordingly, the Solomon Firm

 hereby files this Supplemental 2019 Statement.
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        2.    The names and addresses of the Additional Creditors the Solomon Firm has been

 requested to represent and on whose behalf the Solomon Firm has made an appearance in these

 Cases as of the date hereof are listed on Exhibit “A” annexed hereto.

        3.    The claims held by the Additional Creditors, arising out of the Additional Creditors’

 contractual, statutory and common law or other rights with or against the Debtors, and/or by

 operation of law, were acquired in part more than one year prior to the filing of the Cases. For

 more information regarding the Additional Creditors’ claims in the Cases, including their claims

 acquired within one year of the Cases, reference is made to their proofs of claim filed in the

 Cases and/or the responses such Additional Creditors have filed to the Debtors’ omnibus

 objections to their proofs of claim herein.

        4.    The Solomon Firm has been retained to represent each Additional Creditor whom

 has each separately requested that the Solomon Firm represent him or her in the Cases.

        5.      The Solomon Firm does not hold any claim against, or interest in, the Debtors.

        6.      If and to the extent the Solomon Firm makes an appearance in these Cases on

 behalf of any other creditors herein, the Solomon Firm will supplement this Verified Statement

 in accordance with Bankruptcy Rule 2019.

 Dated: New York, New York
        May 1, 2012


                                       LAW OFFICES OF LISA M. SOLOMON


                                       By: __/s/ Lisa M. Solomon ______________
                                            Lisa M. Solomon (LS-0086)
                                       305 Madison Avenue, Suite 4700
                                       New York, New York 10165
                                       (212) 471-0067


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                                     EXHIBIT A


 Charles Spero
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 New York, NY 10019

 Timothy A. Burke
 149 Split Rock Road
 Syosset, NY 11791

 Gordon Sweely
 56 Gillespie Avenue
 Fair Haven, NJ 00704

 Jonathan Sebiri
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------x
 In re:                         :                           Chapter 11
                                                            Case No. 08-13555 (JMP)
                                             :
 LEHMAN BROTHERS HOLDINGS, INC.,
 et al.,                                                    (Jointly Administered)
                                             :
                Debtors.
 -------------------------------x


        I, Lisa M. Solomon, declare under penalty of perjury that the attached statement under

 Rule 2019 of the Federal Rules of Bankruptcy Procedure is true and correct to the best of my

 knowledge and that the filing of the Rule 2019 Statement on behalf of Law Offices of Lisa M.

 Solomon has been authorized.



                                             __/s/ Lisa M. Solomon__________________
                                             Lisa M. Solomon




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